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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

     UNITED STATES OF AMERICA,                    )
                                                  )
                                                  )
                           Plaintiff,             )
            v.                                    )
                                                  )
                                                  )
     WALTINE NAUTA, and                           )
     CARLOS DE OLIVEIRA,                          )
                                                  )
                           Defendants.            )
                                                  )

                                  NOTICE OF COMPLIANCE

            The Court has directed the government to provide it Volume Two of Special

     Counsel Jack Smith’s Final Report “to facilitate the Court’s review of Defendants’ Joint

     Emergency Motion.” ECF No. 705. As the government has indicated, the Attorney General

     has decided that Volume Two will not be made available to the public while this criminal

     case remains pending because releasing its contents to the public would risk prejudice to

     the defendants. The only remaining issue before the Court is therefore whether making

     Volume Two available to the Chairmen and Ranking Members of the House and Senate

     Judiciary Committees for in camera inspection upon their request under the conditions

     identified by the government in its previous filings would risk prejudice to the defendants.

     A review of the contents of Volume Two is not necessary to make that determination.

            As directed, see ECF No. 705, the government has provided to the Court for in

     camera review two hard copies of Volume Two: (1) an unredacted copy, stamped on the

     first page as “UNREDACTED”; and (2) a redacted copy representing what the Attorney
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     General would make available to the Chairmen and Ranking Members of the House and

     Senate Judiciary Committees absent an order from the Court foreclosing those procedures.

     The redacted copy protects the secrecy of matters occurring before the grand jury, subject

     to Federal Rule of Criminal Procedure 6(e), as well as information sealed by court order.

     Neither the redacted nor unredacted copies of Volume Two contain any classified

     information. The government is arranging for defense counsel to inspect unredacted and

     redacted copies of Volume Two, identical to those provided to the Court, before

     tomorrow’s hearing.



     Dated: January 16, 2025                         Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     MARKENZY LAPOINTE
                                                     United States Attorney

                                                     _s/ Elizabeth J. Shapiro
                                                     ELIZABETH J. SHAPIRO
                                                     D.C. Bar No. 418925
                                                     Special Bar ID #A5502352
                                                     United States Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     P.O. Box 883
                                                     Washington, D.C. 20044
                                                     Tel: (202) 514-5302 / Fax: (202) 616-8460
                                                     E-mail: elizabeth.shapiro@usdoj.gov




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                                 CERTIFICATE OF SERVICE

            I hereby certify that on January 16, 2025, I electronically filed the foregoing paper

     with the Clerk of the Court using the ECF system, which sends notice to counsel of record.

                                                  /s/ Elizabeth J. Shapiro
                                                  Elizabeth J. Shapiro




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